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                             Exhibit A
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                                          Exhibit A
                                          Population as of December 7, 2011
                                                                             Population as % of design
Institution                               Design Capacity Actual Population capacity
Total housed in adult institutions                  79,650           135,970                     170.7%

Individual CDCR Institutions ‐ Men
Avenal State Prison                                   2,920               5,769                      197.6%
California Correctional Center*                       3,883               5,341                      137.5%
California Correctional Institution                   2,783               5,134                      184.5%
California Institution for Men                        2,976               5,570                      187.2%
California Medical Facility                           2,297               2,781                      121.1%
California Men's Colony                               3,838               6,114                      159.3%
California Rehabilitation Center                      2,491               4,095                      164.4%
California State Prison, Calipatria                   2,308               4,332                      187.7%
California State Prison, Centinela                    2,308               4,035                      174.8%
California State Prison, Corcoran                     3,116               4,779                      153.4%
California State Prison, Los Angeles                  2,300               3,999                      173.9%
California State Prison, Sacramento                   1,828               2,822                      154.4%
California State Prison, San Quentin                  3,082               4,309                      139.8%
California State Prison, Solano                       2,610               4,602                      176.3%
California Substance Abuse Treatment
Facility, Corcoran                                    3,424               6,023                      175.9%
Chuckawalla Valley State Prison                       1,738               3,145                      181.0%
Correctional Training Facility                        3,312               6,451                      194.8%
Deuel Vocational Institution                          1,681               3,265                      194.2%
Folsom State Prison                                   2,469               3,486                      141.2%
High Desert State Prison                              2,324               4,050                      174.3%
Ironwood State Prison                                 2,200               4,077                      185.3%
Kern Valley State Prison                              2,448               4,383                      179.0%
Mule Creek State Prison                               1,700               3,483                      204.9%
North Kern State Prison                               2,694               4,424                      164.2%
Pelican Bay State Prison                              2,380               3,200                      134.5%
Pleasant Valley State Prison                          2,308               3,981                      172.5%
RJ Donovan Correctional Facility                      2,200               4,131                      187.8%
Salinas Valley State Prison                           2,452               3,940                      160.7%
Sierra Conservation Center*                           3,736               5,083                      136.1%
Wasco State Prison                                    2,984               4,929                      165.2%


Individual CDCR Institutions ‐ Women
California Institute for Women*                       1,356               1,899                      140.0%
Central California Women's Facility                   2,004               3,378                      168.6%
Valley State Prison                                   1,980               3,037                      153.4%

* The individual Design Capacity and Actual Population figures for California Correctional Center, Sierra
Conservation Center and California Institute for Women include persons housed in camps. This population is
excluded from the "Total housed in adult institutions" included on Exhibit A.

Source ‐ December 12, 2011 Weekly Population Report, available at:
http://www.cdcr.ca.gov/Reports_Research/Offender_Information_Services_Branch/Population_Reports.html
